   Case 1:20-cv-01936-STV Document 56-16 Filed 12/20/21 USDC Colorado Page 1 of 3


3/28/2019                                  Adams County Sheriff's sergeant calls Colorado voters 'f--king stupid' in Facebook post


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      Adams County Sheriff's
      sergeant calls Colorado
      voters 'f--king stupid' in
      Facebook post
      Sgt. apologizes, regrets causing offense to voters
      Posted: 5:41 PM, Nov 09, 2018 Updated: 9:25 AM, Nov 10, 2018

               By: Tomas Hoppough




https://www.thedenverchannel.com/news/politics/adams-county-sheriff-s-sergeant-calls-colorado-voters-f-king-stupid-in-facebook-post                 1/4


      EXHIBIT DD                                                                                                            ADAMS_000102
   Case 1:20-cv-01936-STV Document 56-16 Filed 12/20/21 USDC Colorado Page 2 of 3


3/28/2019                                  Adams County Sheriff's sergeant calls Colorado voters 'f--king stupid' in Facebook post

      BRIGHTON, Colo. — There is a war of words happening on social media,  and
                                                                        1 weather alerts
      it's all surrounding the outcome of the sheriff's race in Adams County.

      Adams County Sheriff Mike McIntosh, a Republican, lost on Tuesday to
      Democratic challenger Rick Reigenborn, who received 85,105 votes to
      McIntosh's 77,444 votes.

      After the election, Sergeant Jim Morgen, the current spokesman for the office,
      went on Facebook and blasted voters for electing Reigenborn, writing
      “Colorado voters are f--king stupid.”

      "That's the part that I'm disappointed in. I understand when he wants to take
      jabs at me. But when he takes jabs at the voters and calls them stupid, those are
      really concerning to me,” Reigenborn said.

      Sgt. Morgen wrote on a friend's Facebook page that it made him completely sick
      “that some complete dumb ass will win as sheriff” with no ability only because
      he has “D” in front of his name.

      "I think it's just a poor choice of somebody using social media,” Reigenborn
      said. “Maybe not in the appropriate way to get his message out."

      Sgt. Jim morgen declined an interview with Denver7 but did say his personal
      and professional life are separate. He released the following statement later in
      the evening Friday:

                 "I would like to extend an apology for my error in judgment with
                 my Facebook post. I was not acting in an official capacity, rather
                 as a private citizen. Regardless, I understand this reflected poorly
                 on the Adams County Sheriff's Office, Sheriff Mike McIntosh and
                 myself. I have spoken to Sheriff Elect Rick Reigenborn and
                 apologized for my actions. I regret causing any offense to the
                 citizens of Adams County and Colorado."



https://www.thedenverchannel.com/news/politics/adams-county-sheriff-s-sergeant-calls-colorado-voters-f-king-stupid-in-facebook-post        2/4


      EXHIBIT DD                                                                                                            ADAMS_000103
   Case 1:20-cv-01936-STV Document 56-16 Filed 12/20/21 USDC Colorado Page 3 of 3


3/28/2019                                     Adams County Sheriff's sergeant calls Colorado voters 'f--king stupid' in Facebook post

      Some are questioning Reigenborn's qualifications because of his past. He  has
                                                                              1 weather alerts
      received restraining orders from two of his ex-wives.

      "It is true. There were a couple of restraining orders in the past. They were
      dropped," Reigenborn said. "One of them was through divorce, and I actually
      placed the restraining order first."

      One thing Reigenborn does admit is he's facing some division at the Adams
      County Sheriff's Office.

      “It's the command staff that wants to continue to be loyal to Sheriff McIntosh,"
      he said.
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            Spring storm will bring more snow to the Colorado
            mountains




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      EXHIBIT DD                                                                                                                   ADAMS_000104
